      Case 7:12-cv-00197-O Document 7 Filed 12/04/12             Page 1 of 3 PageID 77



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                               WICHITA FALLS DIVISION

STACI MATHES AND                                   §
JOANNA MATHES                                      §
                                                   §
        Plaintiffs,                                §
                                                   §
VS.                                                §
                                                   §   CIVIL ACTION NO. 7:12-CV 00197-O
BRIDGESTONE AMERICAS TIRE                          §   ECF
OPERATIONS, LLC f/k/a                              §
BRIDGESTONE FIRESTONE NORTH                        §
AMERICAN TIRE L.L.C.                               §
                                                   §
        Defendants.

                        JOINT MOTION FOR DISMISSAL ORDER

TO THE HONORABLE JUDGE OF SAID COURT:

        COME NOW STACI MATHES and JOANNA MATHES (“Plaintiffs”) and

BRIDGESTONE           AMERICAS     TIRE    OPERATIONS,        L.L.C.   f/k/a   BRIDGESTONE

FIRESTONE NORTH AMERICAN TIRE, L.L.C. (“Defendant”) (collectively, the “Parties”),

and make this Joint Motion for Dismissal Order:

                                                  I.

        On November 27, 2012, the Parties filed their Joint Stipulation of Dismissal with

Prejudice. See ECF No. 6. The Court terminated the case on November 28, 2012 per the Joint

Stipulation of Dismissal.    The Parties now file this Joint Motion for Dismissal Order to

respectfully request that the Court enter a signed Order dismissing this case with prejudice. A

proposed Order is attached hereto as Exhibit A.

        Accordingly, pursuant to the Federal Rules of Civil Procedure, the parties ask the Court

to enter an Order dismissing Plaintiffs’ claims, actions, and causes of action asserted against



JOINT MOTION FOR DISMISSAL ORDER                                                         Page 1
    Case 7:12-cv-00197-O Document 7 Filed 12/04/12            Page 2 of 3 PageID 78



Defendant, with prejudice to the refilling of same, with costs to be taxed against the party

incurring same.

                                          Respectfully submitted,



                                            /s/ Joseph M. Dunn
                                          JOSEPH M. DUNN
                                          State Bar No. 06245650
                                          JEFFREY G. WIGINGTON
                                          State Bar No. 00785246
                                          DAVID L. RUMLEY
                                          State Bar No. 00791581
                                          WIGINGTON RUMLEY DUNN, L.L.P.
                                          601 Howard Street
                                          San Antonio, Texas 78212
                                          (210) 487-7500
                                          (210) 487-7501 (fax)

                                          AND

                                          DAVID M. NIX
                                          THE NIX LAW FIRM
                                          1401 Holliday, Ste. 428
                                          Wichita Falls, Texas 76301
                                          (940) 322-8200
                                          (940) 228-3233

                                          ATTORNEYS FOR PLAINTIFFS

                                          AND




JOINT MOTION FOR DISMISSAL ORDER                                                     Page 2
   Case 7:12-cv-00197-O Document 7 Filed 12/04/12   Page 3 of 3 PageID 79




                                   /s/ C. Vernon Hartline, Jr.         p
                                   C. VERNON HARTLINE, JR.
                                   State Bar No. 09159500
                                   ANGELA S. GORDON
                                   State Bar No. 24027333

                                   HARTLINE DACUS BARGER DREYER LLP
                                   6688 North Central Expressway, Suite 1000
                                   Dallas, Texas 75206
                                   (214) 346-3700
                                   (214) 267-4200 (fax)
                                   E-Mail: vhartline@hdbdlaw.com

                                   ATTORNEYS FOR DEFENDANTS,
                                   BRIDGESTONE AMERICAS TIRE
                                   OPERATIONS, LLC F/K/A BRIDGESTONE
                                   FIRESTONE NORTH AMERICAN TIRE,
                                   L.L.C.




JOINT MOTION FOR DISMISSAL ORDER                                       Page 3
